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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

THOMAS J. BALDWIN,

             Petitioner,
v.                                         CASE NO.: 4:19cv605-MW/MAF

MARK S. INCH, Secretary
Florida Department of Corrections,

             Respondent.

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        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 18. Upon consideration, no objections having been

filed by the parties,

      IT IS ORDERED:

      The report and recommendation is accepted and adopted, as this Court’s

opinion. The Clerk shall enter judgment stating, “Respondent’s Motion to Dismiss,

ECF No. 16, is GRANTED. Petitioner’s second amended § 2254 petition, ECF No.

15, is DISMISSED without prejudice. The certificate of appealability is DENIED

and the motion for leave to appeal in forma pauperis is likewise DENIED.” The
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Clerk shall close the file.

      SO ORDERED on November 6, 2020.
                                   s/Mark E. Walker
                                   Chief United States District Judge




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